
Per Curiam.
We have examined with care the case at bar, and the case of Hackett v. Badeau, 63 N. Y., 476, and we have been unable to discover any distinction in principle between them. In the case cited, chapter 478 of the Laws of 1862 was under consideration, and we have been unable to discover any difference between that act and the act, chapter 342 of the Laws of 1885, by virtue of which the-plaintiff claims, so far as it relates to cases^ of agreements for sale coupled with an agreement to make a building loan.
It is true that in the one case the word “ permission ” is used, and in the other “ consent,” referring to the owner, but this difference is in no respect material.
' In view of this adjudication seeming to us to pass upon the precise question before us, it is needless for us to enter into a discussion relative to the construction of the act in question.
The judgment appealed from must be affirmed, with costs.
